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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                )         MDL NO. 2804
OPIATE LITIGATION                           )
                                            )         Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:                   )
                                            )         JUDGE DAN AARON POLSTER
City of Rochester v. Purdue Pharma L.P., )
No. 19-op-45853 (Track 12)                  )
                                            )
Lincoln County v. Richard S. Sackler, M.D., )
No. 20-op-45069 (Track 13)                  )
                                            )
City of Independence, Missouri v. Williams, )
No. 19-op-45371 (Track 14)                  )
                                            )
County of Webb, Texas v. Purdue Pharma, )
L.P., No. 18-op-45175 (Track 15)            )
____________________________________)


             PLAINTIFFS’ AND PEC’S JOINT REQUEST FOR LEAVE TO FILE
               SUPPLEMENTAL AUTHORITY RELATED TO OPTUMRX’S
                      MOTION TO DISQUALIFY MOTLEY RICE

       Plaintiffs and the PEC request leave to file the attached American Bar Association,

Standing Committee on Ethics and Professional Responsibility, Formal Opinion 509,

Disqualification to Prevent the Misuse of ‘Confidential Government Information’ (Ex. A), issued

February 28, 2024, as supplemental authority on their Opposition to Defendant OptumRx’s Motion

to Disqualify Motley Rice. The ABA Opinion addresses Model Rule of Professional Conduct

1.11(c), which is substantively identical to Ohio Rule of Professional Conduct 1.11(c), see Op. at

2, and provides analysis on points raised in Plaintiffs’ Opposition.

       First, the ABA Opinion concludes that Model Rule 1.11(c)’s coverage of “confidential

government information” does not extend to information that a party can obtain through routine

discovery:
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       Further, Rule 1.11(c) does not apply to all information obtained under government
       authority, but only to information that, at the time the Rule is applied, . . . is not
       otherwise publicly available. Whether government information is publicly
       available—e.g., whether it can be obtained through routine discovery—will be a
       question of fact. So is the question of whether the information “could be used to
       [the person’s] material disadvantage.” Op. at 4 (emphasis added).

This conclusion supports Plaintiffs’ arguments that the investigation documents at issue are not

confidential government information and that Motley Rice’s access cannot materially

disadvantage Optum when all Plaintiffs’ counsel can access these documents through discovery,

and in fact already have accessed many of these documents. Opposition (ECF 5288) at 9-14; Sur-

Reply (ECF 5320-1) at 7-12.

       Second, the ABA Opinion finds that Model Rule 1.11(c)’s coverage of a “private client”

may include another public entity, but not one that has a right to access and use the confidential

information at issue:

       Additionally, the term “private client” also includes public entities and officials
       whom the lawyer represents in private practice, if those clients are not legally
       entitled to employ the confidential information. Op. at 8-9 (first emphasis in
       original, second added).

       Rule 1.11(c) prefaces its disqualification requirement with the phrase, “Except as
       law may otherwise expressly permit.” Regardless of whether the law specifically
       authorizes the lawyer’s representation, the Rule should not apply in the situation in
       which the lawyer’s client is legally permitted to use the information in question. Id.
       at 9 n.30 (emphasis added).

This conclusion supports Plaintiffs’ arguments that the government entity Bellwether Plaintiffs are

not covered as private clients, Opposition (ECF 5288) at 14-16; Sur-Reply (ECF 5320-1) at 6-7,

where Plaintiffs have the right through discovery to obtain and use the investigation documents at

issue, and in fact already have obtained and used many of these documents. Opposition (ECF

5288) at 9-14; Sur-Reply (ECF 5320-1) at 7-12.




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       Plaintiffs have refrained from providing further legal argument herein. To the extent

Optum does otherwise and raises additional legal argument based on the ABA Opinion, Plaintiffs

reserve the right to seek leave to respond.

Dated: March 1, 2024

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2024, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and
may be obtained through, the Court CM/ECF system.


                                      /s Peter H. Weinberger
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